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Case 2:21-cv-01613-JLR Document 1-1 Filed 12/01/21 Page 1 of 9

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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

21-cv-Olol

 

 

 

 

 

 

i yrviiand C0 ati CASE NO.
[to be filled in by Clerk’s Office]
BOBEEE PVOIES,
. COMPLAINT FOR A CIVIL CASE
7. £Q. Bes ly ror? ALLEGING THAT THE
DEFENDANT OWES THE
Plaintifi(s), PLAINTIFF A SUM OF MONEY
v. (28 U.S.C. § 1332; Diversity of
; Citizenship)
Zo Abi OFF MPI R21 CAHN ,
e Jury Trial: wy es LI No
Defendant(s).

 

 

I THE PARTIES TO THIS COMPLAINT
A. Plaintiffs)

Provide the information below for each plaintiff named in the complaint. Attach
additional pages if needed.

 

 

Name x, x rath f CLL
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City and County Abit 7? _, Mi 1g CotatY

 

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COMPLAINT FOR A CIVIL CASE ALLEGING THAT THE
DEFENDANT OWES THE PLAINTIFF A SUM OF
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Case 2:21-cv-01613-JLR Document 1-1 Filed 12/01/21 Page 2 of 9

Pro Se 6 2016

B. Defendant(s)

Provide the information below for each defendant named in the complaint, whether the
defendant is an individual, a government agency, an organization, or a corporation. For an
individual defendant, include the person's job or title (if known). Attach additional pages if
needed.

Defendant No. 1

name ZA OF MITELZICA
Job or Title (if known) edn Chl ON STIFF ¢ oA

 

 

 

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State and Zip Code “

LIAS Aria Ler?
Telephone Number Zotl- GY, COSTA

 

Defendant No. 2

Name

 

Job or Title (if known)

 

Street Address

 

City and County

 

State and Zip Code

 

Telephone Number

 

Defendant No. 3

Name

 

Job or Title (if known)

 

Street Address

 

City and County

 

State and Zip Code

 

Telephone Number

 

COMPLAINT FOR A CIVIL CASE ALLEGING THAT THE
DEFENDANT OWES THE PLAINTIFF A SUM OF
MONEY - 2

 
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Case 2:21-cv-01613-JLR Document 1-1 Filed 12/01/21 Page 3 of 9

Pro Se 6 2016

Defendant No. 4

Name

 

Job or Title (if known)

 

Street Address

 

City and County

 

State and Zip Code

 

Telephone Number

 

Il. BASIS FOR JURISDICTION

Federal courts are courts of limited jurisdiction (limited power). Generally, only two
types of cases can be heard in federal court: cases involving a federal question and cases
involving diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising under
the United States Constitution or federal laws or treaties is a federal question case. Under 28
U.S.C. § 1332, a case in which a citizen of one State sues a citizen of another State or nation and
the amount at stake is more than $75,000 is a diversity of citizenship case. In a diversity of
citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)

fd. Federal question mh Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.
A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States
Constitution that are at issue in this case.

U.S. Coast Article 2 -Futl earth 8 Cet ¢-

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COMPLAINT FOR A CIVIL CASE ALLEGING THAT THE
DEFENDANT OWES THE PLAINTIFF A SUM OF
MONEY - 3

 
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Case 2:21-cv-01613-JLR Document 1-1 Filed 12/01/21

Pro Se 6 2016

B. If the Basis for Jurisdiction Is Diversity of Citizenship
1, The Plaintiff(s)
a. Ifthe plaintiff is an individual.
The plaintiff (name) _&Orv27 2 7 Ca 7 Piotr w
State of (name) 4/7 L eg, LfO4
b. Ifthe plaintiff is a corporation.
The plaintiff, (aame)
the laws of the State of (name)
the laws of the State of (name)

place of business in the State of (name)

Page 4 of 9

, is a citizen of the

, is incorporated under
, is incorporated under

, and has its principal

 

(If more than one plaintiff is named in the complaint, attach an additional page providing

the same information for each additional plaintiff.)

2. The Defendant(s)
a. Ifthe defendant is an individual.
The defendant, (name)

State of (name)

 

(foreign nation)

 

b. Ifthe defendant is a corporation.
The defendant, (name) _ Zenie OF ver ew
the laws of the State of (name) lI aSh: of for
place of business in the State of (name) _A7A SS.

Or is incorporated under the laws of (foreign nation)

, 18 a citizen of the

. Oris a citizen of

, 1s incorporated under

, and has its principal

 

and has its principal place of business in (name)

 

COMPLAINT FOR A CIVIL CASE ALLEGING THAT THE
DEFENDANT OWES THE PLAINTIFF A SUM OF
MONEY - 4

 
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Case 2:21-cv-01613-JLR Document 1-1 Filed 12/01/21 Page 5of9

Pro Se 6 2016

(If more than one defendant is named in the complaint, attach an additional page
providing the same information for each additional defendant.)

Ill. THE AMOUNT IN CONTROVERSY

The amount in controversy-the amount the plaintiff claims the defendant owes or the
amount at stake-is more than $75,000, not counting interest and costs of court, because (explain):

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IV. STATEMENT OF CLAIM

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as
possible the facts showing that each plaintiff is entitled to the damages or other relief sought.
State how each defendant was involved and what each defendant did that caused the plaintiff
harm or violated the plaintiff's rights, including the dates and places of that involvement or

conduct. If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages if needed.

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PUAN ACFE OM.

The defendant, (name) 24 v4 of Ae7-€12164 __, owes the plaintiff (specify the

650 wv ste. ; ‘
amount) $ 2 OO, Ot, because (use one or more of the following, as appropriate):

A. On a Promissory Note

On (date) , the defendant signed and delivered a note promising to
pay the plaintiff on (date) the sum of (specify the amount) $ with
interest at the rate of (specify the amount) percent. The defendant has not paid the

amount due and owes (state the amount of unpaid principal and interest) $

COMPLAINT FOR A CIVIL CASE ALLEGING THAT THE
DEFENDANT OWES THE PLAINTIFF A SUM OF
MONEY - 5

 

 
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Case 2:21-cv-01613-JLR Document 1-1 Filed 12/01/21 Page 6 of 9

Pro Se 6 2016

A copy of the note is attached as an exhibit or is summarized below. (Attach the note or

summarize what the document says.)

 

 

 

B. On an Account Between the Parties

The defendant owes the plaintiff (specify the amount) $ CTO, 06: td. This debt

 

arises from an account between the parties, based on (state the basis, such as an agreement
between a credit-card company and a credit-card holder)

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The plaintiff sent the defendant a statement of the account listing the transactions over a
certain period and showing the bills sent, the payments received or credits approved, and the
balance due. The defendant owes (specify the amount) $ . Copies of the bills
or account statements are attached as exhibits or summarized below. (Attach the statements or
summarize what they say.)

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C. For Goods Sold and Delivered

The defendant owes the plaintiff (specify the amount) $ , for goods

sold and delivered by the plaintiff to the defendant from (date) to (date)

COMPLAINT FOR A CIVIL CASE ALLEGING THAT THE
DEFENDANT OWES THE PLAINTIFF A SUM OF
MONEY - 6

 
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Case 2:21-cv-01613-JLR Document 1-1 Filed 12/01/21 Page 7 of 9

Pro Se 6 2016

D. For Money Loaned

The defendant owes the plaintiff (specify the amount) $ , for money
the plaintiff loaned the defendant on (date)
E. For Money Paid by Mistake

The defendant owes the plaintiff (specify the amount) $ for money
paid by mistake to the defendant on (date) , when the defendant received the

payment from (specify who paid and describe the circumstances of the payment)

 

 

 

F, For Money Had and Received
The defendant was paid money (specify the amount) $ on (date)

by (identify who paid and describe the circumstances of the payment)

 

 

 

It is unjust for the defendant not to pay the plaintiff the money received because (explain
the reason, such as that the money was intended to be paid to the plaintiff, or was paid by
coercion, duress, or fraud, or was an overpayment or a deposit to be returned):

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COMPLAINT FOR A CIVIL CASE ALLEGING THAT THE
DEFENDANT OWES THE PLAINTIFF A SUM OF
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Case 2:21-cv-01613-JLR Document 1-1 Filed 12/01/21 Page 8 of 9

Pro Se 6 2016

Vv. RELIEF
State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do
not make legal arguments. Include any basis for claiming that the wrongs alleged are continuing
at the present time. Include the amounts of any actual damages claimed for the acts alleged and

the basis for these amounts. Include any punitive or exemplary damages claimed, the amounts,
and the reasons you claim you are entitled to actual or punitive money damages.

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VI. CERTIFICATION AND CLOSING
Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an improper
purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of litigation;
(2) is supported by existing law or by a nonfrivolous argument for extending, modifying, or
reversing existing law; (3) the factual contentions have evidentiary support or, if specifically so
identified, will likely have evidentiary support after a reasonable opportunity for further
investigation or discovery; and (4) the complaint otherwise complies with the requirements of
Rule 11.
I agree to provide the Clerk's Office with any changes to my address where case-related

papers may be served. I understand that my failure to keep a current address on file with the

Clerk's Office may result in the dismissal of my case.

COMPLAINT FOR A CIVIL CASE ALLEGING THAT THE
DEFENDANT OWES THE PLAINTIFF A SUM OF
MONEY - 8

 
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Case 2:21-cv-01613-JLR Document 1-1 Filed 12/01/21 Page 9 of 9

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Date of signing: 42. ( Zoe

Signature of Plaintiff zZ

Z- =
Printed Name of Plaintiff <7¥r eran a (a lhown

Date of signing:

 

Signature of Plaintiff

 

Printed Name of Plaintiff

 

Date of signing:

 

Signature of Plaintiff

 

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COMPLAINT FOR A CIVIL CASE ALLEGING THAT THE
DEFENDANT OWES THE PLAINTIFF A SUM OF
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